Case 1:08-cv-00080-JMS-BMK Document 1

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Filed 02/21/08 Pagelof8 PagelD#:1

 

 

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAT

McCABE HAMILTON & RENNY,
CO., LTD.,

Plaintiff,
Vv.

MATSON NAVIGATION COMPANY,
INC., MATSON TERMINALS, INC.,
JOHN DOES 1-5 JANE DOES 1-5,
DOE CORPORATIONS 1-5, DOE
PARTNERSHIPS 1-5, DOE NON-
PROFIT ORGANIZATIONS 1-5, and
DOE GOVERNMENTAL AGENCIES
1-5,

Defendants.

 

 

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COMPLAINT; DEMAND FOR
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Case 1:08-cv-00080-JMS-BMK Document1 Filed 02/21/08 Page2of8 PagelD#: 2

COMPLAINT

Plaintiff, by it attorneys, for its complaint in this action, alleges as follows:
Jurisdiction
1. This is an action for damages and injunctive relief for violations of
Section 7 of the Clayton Act (15 U.S.C. § 18) and Section 2 of the Sherman Act
(15 U.S.C, § 2), and for misappropriation of trade secrets, unfair competition, and
conversion of confidential information. This court has jurisdiction under 28 USCA

$1331 and 1337, 15 USCA §§ 15 and 26 and 28 U.S.C. §1367.

Venue
2. Plaintiff is a corporation organized under the laws of Hawaii.
3. Defendant Matson Navigation Company, Inc. is a corporation

organized under the laws of Hawaii with its principal place of business in Hawaii.
The claims set forth below arise, defendant may be found, and defendant transacts
business in Hawai.

4. Defendant Matson Terminals, Inc. is a corporation organized under
the laws of Hawaii with its principal place of business in Hawaii. The claims set
forth below arise, defendant may be found, and defendant transacts business in
Hawai.

5. Venue is proper in this district under 28 USCA § 1391.

6522 19.V1
Case 1:08-cv-00080-JMS-BMK Document1 Filed 02/21/08 Page3of8 PagelD#: 3

Parties

6. Plaintiff provides stevedoring and related services to defendant and
other water carriers who operate ships and terminals on Oahu.

7. Defendant Matson Terminals, Inc., a subsidiary of Matson
Navigation, Inc., provides stevedoring and related services but not in direct
competition with McCabe on Oahu.

8. Defendant Matson Navigation, Inc. is a monopoly water carrier who
operates ships and terminals at the ports in Hawaii.

Interstate Commerce Affected

9. Water carriage and the operation of ships and terminals, including that
performed by defendant, and stevedoring and related services, including those
provided by plaintiff, can and do provide an element of interstate transport of
goods. The activities of plaintiff and defendant are in and affect interstate
commerce,

10. Because of the nature of stevedoring and related services, the markets
for those services are usually restricted to local geographic areas.

ll. The stevedoring and related services markets that are the subject of
this complaint are at the ports on Oahu. These markets are highly concentrated.
Defendant’s acquisition of plaintiff's longshoremen workforce will lead to further

concentration of these markets.

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Case 1:08-cv-00080-JMS-BMK Document1 Filed 02/21/08 Page4of8 PagelD#:4

Wrongful Acts

12. Defendant Matson Terminals, Inc. is attempting to hire most of
McCabe’s longshore workforce.

13. IfDefendant Matson Terminals is successful in hiring the number of
employees it seeks, McCabe will be unable to continue its business operations.

14. McCabe may be unable to continue its operations if Matson
Terminals, Inc. hires even a much lesser number of McCabe employees.

15. Over the course of the parties’ long relationship, McCabe has
provided confidential information and trade secrets that are property of McCabe.

16. Such information was provided in the context of providing Matson
information necessary to justify to the regulatory body that oversees its rates the
service fee it pays to McCabe.

17. Such information was provided in the context of negotiations in 2005
regarding a proposed purchase of McCabe by Defendants.

18. At all times, any confidential information or trade secrets
communicated by McCabe to Matson were communicated under a clear
understanding by Matson that they were to be used solely for the limited purpose
for which they were provided.

19. Such information would be highly valuable to anyone intending to

enter the stevedoring market on Oahu.

652219 V1
Case 1:08-cv-00080-JMS-BMK Document1 Filed 02/21/08 Page5of8 PagelD#:5

20. Matson has used this information for the purpose of entering the

stevedoring market on Oahu by the means of soliciting McCabe employees.
Counts | and I

21. Plaintiff repeats and incorporates by reference the allegations
contained in paragraphs | through 20 above.

22. Because defendants will gain large market share in stevedoring and
related services in Hawaii ports, and will maintain and strengthen its current
monopoly of water carriage and the operation of ships and terminals in these
markets, defendants attempted acquisition of plaintiffs longshoremen workforce
may substantially lessen competition, or tend to create a monopoly, in the
stevedoring services and water carriage markets in violation of Section 7 of the
Clayton Act and Section 2 of the Sherman Act.

23. Asa direct result of this antitrust violation, plaintiff would be
damaged in its business and property.

Count HI

24. Plaintiff repeats and incorporates by reference the allegations
contained in paragraphs | through 23 above.

25. Detendant’s acquisition of plaintiff's longshoremen workforce and

misappropriation of confidential information constitutes an unfair trade practice.

GS2219. V4
Case 1:08-cv-00080-JMS-BMK Document1 Filed 02/21/08 Pageéof8 PagelD#: 6

26. Asa direct result of Defendants’ actions, plaintiff would be damaged
in its business and property.
Count [IV
27.  Plaintiffrepeats and incorporates by reference the allegations
contained in paragraphs | through 26 above.
28. Defendants solicitation of Plaintiff's employees constitutes tortious
interference with contractual relations.
29, Asadirect result of Defendants’ actions, plaintiff would be damaged
in its business and property.
Count V
30. Plaintiff repeats and incorporates by reference the allegations
contained in paragraphs | through 29 above.
3i. Defendants have misappropriated Plaintiffs trade secrets.
32. Asa direct result of Defendants’ actions, plaintiff would be damaged
in its business and property.
Count VI
33. Plaintiffrepeats and incorporates by reference the allegations
contained in paragraphs | through 32 above.
34. Defendants exercised dominion over McCabe's property to McCabe's

detriment.

BR2219 V1
Case 1:08-cv-00080-JMS-BMK Document1 Filed 02/21/08 Page 7of8 PagelD#: 7

35.  Asadirect result of Defendants’ actions, plaintiff would be damaged
in its business and property.

RELIEF REQUESTED

WHEREFORE, plaintiff respectfully requests that:

lL. This court adjudge that defendant's acquisition of plaintiff s
longshoring workforce in Hawaii ports (1) may substantially lessen competition in
violation of section 7 of the Clayton Act, and constitutes an attempt to monopolize,
and monopolization of, a line of commerce, in violation of Section 2 of the
Sherman Act.

2. This court permanently enjoin defendant from directly or
indirectly acquiring or attempting to acquire plaintiff's longshoring workforce or
any stevedoring service interests.

3, Plaintiff recover threefold the damages sustained as a result of the
antitrust violations alleged, together with costs and reasonable attorney fees.

4 A preliminary and permanent injunction prohibiting Defendants from
using any of McCabe’s confidential information and trade secrets for any purpose
beyond that for which such information was provided.

5. An accounting by defendant and a judgment for the amount found to

be due on such accounting in favor of plaintiff, for all profits realized by the

SR2219.N1
Case 1:08-cv-00080-JMS-BMK Document1 Filed 02/21/08 Page8of8 PagelD#: 8

defendant, and for all damages and loss of profits determined to have been
sustained by plaintiff by reason of the unlawful conduct of defendant.

6. Damages in an amount to be proven and interest thereon.

7. Exemplary damages against defendant, by reason of the willful and
deliberate nature of defendants’ actions, involving malicious injury or a reckless
indifference to the interests of plaintiff.

8. Reasonable costs and expenses, including attorneys’ fees, incurred in
connection with the prosecution of this action.

9, Such other and further relief as may be deemed just and proper.

DATED: Honolulu, Hawaii, February 21, 2008.

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